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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

WHAM-O HOLDING, LTD. and

INTERSPORT CORP. d/b/a WHAM-O,
Case No.: 18-cv-3264

Plaintiff,
Judge Manish S. Shah

V.
Magistrate Judge Jeffrey Cole

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

Defendants.

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on July 11, 2018 [58], in favor
of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff
acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Defendants:
No. Defendant
15 Coronet Group Suzhou Co., Ltd.
191 Techwell Silicone Rubber Product (Jiangmen) Co., Ltd.
393 Denver
433 estone
479 Frieda
488 Geeker’s Camp
591 JessicaFavor
691 luoshangtao
848 SecretGardenss
914 songc
938 SXPxiaopingwoaini
1025 Wondering world
1057 xinshangkejiyouxiangongsi
1091 Yoonbuyone
1102 yuyang
1130 zhuoyanstore
1181 Global Bridge Industry Co., Ltd.

 

 

 

 
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THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

DATED: July 945 _, 2018

Respectfully submitted,

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Yanling Jiang, J.D. (Bar No. 6309336)
JiangIP LLC
233 South Wacker Drive, 84" Floor
Chicago, Illinois 60606
Telephone: 312-283-8091
Email: yanling@jiangip.com

ATTORNEY FOR PLAINTIFF

#4
Subscribed and sworn before me by Yanling Jiang, on this 2S th day of July, 2018.

Given under by hand and notarial seal.

 
  
 

  

OFFICIAL SEAL
OLLIE B. JONES
Notary Public - State of Illinois
My Commission Expires 4/07/2022

 
   
   

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Notary Public

State of Thin OLS
County of Coa fe
